     Case 2:20-cv-05606-RGK-JC Document 20 Filed 09/22/20 Page 1 of 14 Page ID #:122




       Tommy SF Wang (SBN: 272409)
 1
       Joshua E. Matic (SBN: 259070)
 2     Wang IP Law Group, P.C.
       18645 E. Gale Ave. Ste #205
 3
       City of Industry, CA 91748
 4     Telephone: 626-269-6753
       Facsimile: 888-827-8880
 5     Email: twang@thewangiplaw.com; jmatic@thewangiplaw.com
 6     Attorneys for Defendant
       SCIENTIFIC GLASS ART, INC; JORGE OMAR AVILA MARTINEZ; and
 7     BARAKAT ZAHRAN
 8
                         UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
                               CENTRAL DIVISION
10

11
       R.Y.L. INC., A California Corporation       Case No.: 2:20-cv-05606
12
                   Plaintiffs,
13           vs.                                      DEFENDANT’S ANSWER TO
14                                                     PLAINTIFFS’ COMPLAINT
       SCIENTIFIC GLASS ART, INC. A
15     California Corporation;                            [Jury Trial Demanded]
16
       JORGE AVILA MARTINEZ AKA
17     JORGE AVILA AND ADANTE
       AVILA, an individual;
18

19     BARAKAT ZAHRAN AKA ZAHRAN
       BARAKAT AND HISHAM
20     BARAKAT, an individual;
21
       and DOES 1 through 50,
22
                   Defendant.
23

24

25

26

27                       DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
28                                             1
     Case 2:20-cv-05606-RGK-JC Document 20 Filed 09/22/20 Page 2 of 14 Page ID #:123




 1          Defendant SCIENTIFIC GLASS ART, INC., DEFENDANT JORGE
 2     AVILA MARTINEZ (“Mr. Martinez”) and BARAKAT ZAHRAN (collectively
 3     “DEFENDANTS”) answer “COMPLAINT FOR PATENT INFRINGEMENT,
 4     TRADE DRESS INFRINGEMENT, FALSE DESIGNATION OF ORIGINA,
 5     AND UNFAIR BUSINESS PRACTICES” (the “Complaint”) filed on June 25,
 6     2020, by plaintiff R.Y.L. INC., a California corporation (“Plaintiffs”) as follows:
 7

 8                                        INTRODUCTION
 9             1.   DEFENDANTS deny the allegations set forth in paragraph 1.
10                                          The Parties
11             2.   DEFENDANTS are without knowledge or information sufficient to
12     form a belief as to the truth of the allegations of paragraph 1, and therefore deny
13     them.
14             3.   DEFENDANTS admit that it is a corporation organized under the
15     laws of the State of California.
16             4.   DEFENDANTS admit to the allegations of paragraph 4.
17             5.   DEFENDANTS admit to the allegations of paragraph 5.
18             6.   DEFENDANTS admit to the allegations of paragraph 6.
19             7.   DEFENDANTS deny the allegations of paragraph 7.
20             8.   DEFENDANTS deny the allegations of paragraph 8.
21             9.   DEFENDANTS deny the allegations of paragraph 9, but specifically
22     deny that DEFENDANTS has infringed or is liable for any infringement of any
23     valid and enforceable patents or patent rights of Plaintiffs.
24                                  Jurisdiction And Venue
25

26

27                        DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
28                                               2
     Case 2:20-cv-05606-RGK-JC Document 20 Filed 09/22/20 Page 3 of 14 Page ID #:124




 1             10.   DEFENDANTS admit that this action purports to invoke the patent
 2     laws of the United States, 15 U.S.C. §§ 1051 et seq. and 35 U.S.C. §§ 1 et seq.
 3     DEFENDANTs admit this Court has subject matter jurisdiction under 15 U.S.C.
 4     § 1121, 28 U.S.C. § 1331, 28 U.S.C. § 1338(a), 28 U.S.C. § 1338(b), and 28
 5     U .S.C. § 1367.
 6             11.   DEFENDANTS admit that this Court has personal jurisdiction over
 7     Defendants but deny the remaining allegations of paragraph 11.
 8             12.   DEFENDANTS admit that venue is proper in the Central District of
 9     California, and admit having conducted business in the District, but deny the
10     allegations of infringement set forth in paragraph 12.
11

12                                     BACKGROUND
13                        Plaintiff R.Y.L.’s Patents and Trade Dress
14             13.   DEFENDANTS is without knowledge or information sufficient to
15     form a belief as to the truth of the allegations of paragraph 13, and therefore deny
16     them.
17             14.   DEFENDANTS is without knowledge or information sufficient to
18     form a belief as to the truth of the allegations of paragraph 14, and therefore deny
19     them.
20             15.   DEFENDANTS is without knowledge or information sufficient to
21     form a belief as to the truth of the allegations of paragraph 15, and therefore deny
22     them.
23             16.   DEFENDANTS is without knowledge or information sufficient to
24     form a belief as to the truth of the allegations of paragraph 16, and therefore deny
25     them.
26

27                        DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
28                                              3
     Case 2:20-cv-05606-RGK-JC Document 20 Filed 09/22/20 Page 4 of 14 Page ID #:125




 1             17.   DEFENDANTS is without knowledge or information sufficient to
 2     form a belief as to the truth of the allegations of paragraph 17, and therefore deny
 3     them.
 4             18.   DEFENDANTS is without knowledge or information sufficient to
 5     form a belief as to the truth of the allegations of paragraph 18, and therefore deny
 6     them.
 7             19.   DEFENDANTS is without knowledge or information sufficient to
 8     form a belief as to the truth of the allegations of paragraph 19, and therefore deny
 9     them.
10             20.   DEFENDANTS is without knowledge or information sufficient to
11     form a belief as to the truth of the allegations of paragraph 20, and therefore deny
12     them.
13              Defendants Scientific Glass Art, Avila, and Zahran’s Products
14             21.   DEFENDANTS deny allegations set forth in paragraph 21.
15             22.   DEFENDANTS deny allegations set forth in paragraph 22.
16             23.   DEFENDANTS deny allegations set forth in paragraph 23.
17             24.   DEFENDANTS deny allegations set forth in paragraph 24.
18             25.   DEFENDANTS deny allegations set forth in paragraph 25.
19             26.   DEFENDANTS admit to receiving letter from plaintiff but deny the
20     rest of the allegations set forth in paragraph 26.
21             27.   DEFENDANTS deny allegations set forth in paragraph 27.
22             28.   DEFENDANTS deny allegations set forth in paragraph 28.
23

24                               FIRST CLAIM FOR RELIEF
25                                      (The ‘152 Patent)
26

27                        DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
28                                               4
     Case 2:20-cv-05606-RGK-JC Document 20 Filed 09/22/20 Page 5 of 14 Page ID #:126




 1             29.   DEFENDANTS realleges as if fully set forth here its responses to
 2     the allegations in paragraphs 1 through 29 of the complaint.
 3             30.   DEFENDANTS is without knowledge or information sufficient to
 4     form a belief as to the truth of the allegations of paragraph 30, and therefore deny
 5     them.
 6             31.   DEFENDANTS deny the allegations of paragraph 31, and
 7     specifically deny that DEFENDANTS has infringed or is liable for any
 8     infringement of any valid and enforceable patents or patent rights of Plaintiffs.
 9             32.   DEFENDANTS deny the allegations of paragraph 32, and
10     specifically deny that DEFENDANTS has infringed or is liable for any
11     infringement of any valid and enforceable patents or patent rights of Plaintiffs.
12             33.   DEFENDANTS deny the allegations of paragraph 33.
13             34.   DEFENDANTS deny the allegations of paragraph 34.
14             35.   DEFENDANTS deny the allegations of paragraph 35.
15             36.   DEFENDANTS deny the allegations of paragraph 36.
16             37.   DEFENDANTS deny the allegations of paragraph 37.
17                             SECOND CLAIM FOR RELIEF
18                                     (The ‘525 Patent)
19             38.   DEFENDANTS realleges as if fully set forth here its responses to
20     the allegations in paragraphs 1 through 37 of the complaint.
21             39.   DEFENDANTS is without knowledge or information sufficient to
22     form a belief as to the truth of the allegations of paragraph 30, and therefore deny
23     them.
24

25

26

27                        DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
28                                              5
     Case 2:20-cv-05606-RGK-JC Document 20 Filed 09/22/20 Page 6 of 14 Page ID #:127




 1             40.   DEFENDANTS deny the allegations of paragraph 31, and
 2     specifically deny that DEFENDANTS has infringed or is liable for any
 3     infringement of any valid and enforceable patents or patent rights of Plaintiffs.
 4             41.   DEFENDANTS deny the allegations of paragraph 32, and
 5     specifically deny that DEFENDANTS has infringed or is liable for any
 6     infringement of any valid and enforceable patents or patent rights of Plaintiffs.
 7             42.   DEFENDANTS deny the allegations of paragraph 33.
 8             43.   DEFENDANTS deny the allegations of paragraph 34.
 9             44.   DEFENDANTS deny the allegations of paragraph 35.
10             45.   DEFENDANTS deny the allegations of paragraph 36.
11             46.   DEFENDANTS deny the allegations of paragraph 37.
12                              THIRD CLAIM FOR RELIEF
13                                     (The ‘281 Patent)
14             47.   DEFENDANTS realleges as if fully set forth here its responses to
15     the allegations in paragraphs 1 through 46 of the complaint.
16             48.   DEFENDANTS is without knowledge or information sufficient to
17     form a belief as to the truth of the allegations of paragraph 30, and therefore deny
18     them.
19             49.   DEFENDANTS deny the allegations of paragraph 31, and
20     specifically deny that DEFENDANTS has infringed or is liable for any
21     infringement of any valid and enforceable patents or patent rights of Plaintiffs.
22             50.   DEFENDANTS deny the allegations of paragraph 32, and
23     specifically deny that DEFENDANTS has infringed or is liable for any
24     infringement of any valid and enforceable patents or patent rights of Plaintiffs.
25             51.   DEFENDANTS deny the allegations of paragraph 33.
26

27                        DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
28                                              6
     Case 2:20-cv-05606-RGK-JC Document 20 Filed 09/22/20 Page 7 of 14 Page ID #:128




 1             52.   DEFENDANTS deny the allegations of paragraph 34.
 2             53.   DEFENDANTS deny the allegations of paragraph 35.
 3             54.   DEFENDANTS deny the allegations of paragraph 36.
 4             55.   DEFENDANTS deny the allegations of paragraph 37.
 5                            FOURTH CLAIM FOR RELIEF
 6                                     (The ‘772 Patent)
 7             56.   DEFENDANTS realleges as if fully set forth here its responses to
 8     the allegations in paragraphs 1 through 55 of the complaint..
 9             57.   DEFENDANTS is without knowledge or information sufficient to
10     form a belief as to the truth of the allegations of paragraph 30, and therefore deny
11     them.
12             58.   DEFENDANTS deny the allegations of paragraph 31, and
13     specifically deny that DEFENDANTS has infringed or is liable for any
14     infringement of any valid and enforceable patents or patent rights of Plaintiffs.
15             59.   DEFENDANTS deny the allegations of paragraph 32, and
16     specifically deny that DEFENDANTS has infringed or is liable for any
17     infringement of any valid and enforceable patents or patent rights of Plaintiffs.
18             60.   DEFENDANTS deny the allegations of paragraph 33.
19             61.   DEFENDANTS deny the allegations of paragraph 34.
20             62.   DEFENDANTS deny the allegations of paragraph 35.
21             63.   DEFENDANTS deny the allegations of paragraph 36.
22             64.   DEFENDANTS deny the allegations of paragraph 37.
23                              FIFTH CLAIM FOR RELIEF
24                                       (Trade Dress)
25

26

27                        DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
28                                              7
     Case 2:20-cv-05606-RGK-JC Document 20 Filed 09/22/20 Page 8 of 14 Page ID #:129




 1             65.   DEFENDANTS realleges as if fully set forth here its responses to
 2     the allegations in paragraphs 1 through 64 of the complaint.
 3             66.   DEFENDANTS is without knowledge or information sufficient to
 4     form a belief as to the truth of the allegations of paragraph 66, and therefore deny
 5     them.
 6             67.   DEFENDANTS is without knowledge or information sufficient to
 7     form a belief as to the truth of the allegations of paragraph 67, and therefore deny
 8     them.
 9             68.   DEFENDANTS is without knowledge or information sufficient to
10     form a belief as to the truth of the allegations of paragraph 68, and therefore deny
11     them.
12             69.   DEFENDANTS deny the allegations of paragraph 69.
13             70.   DEFENDANTS deny the allegations of paragraph 70.
14             71.   DEFENDANTS deny the allegations of paragraph 71.
15             72.   DEFENDANTS deny the allegations of paragraph 72.
16             73.   DEFENDANTS deny the allegations of paragraph 73.
17             74.   DEFENDANTS deny the allegations of paragraph 74.
18             75.   DEFENDANTS deny the allegations of paragraph 75.
19             76.   DEFENDANTS deny the allegations of paragraph 76.
20             77.   DEFENDANTS deny the allegations of paragraph 77.
21                              SIXTH CLAIM FOR RELIEF
22                               (False Designation of Origin)
23             78.   DEFENDANTS realleges as if fully set forth here its responses to
24     the allegations in paragraphs 1 through 77 of the complaint.
25             79.   DEFENDANTS deny the allegations of paragraph 79.
26

27                        DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
28                                              8
     Case 2:20-cv-05606-RGK-JC Document 20 Filed 09/22/20 Page 9 of 14 Page ID #:130




 1             80.   DEFENDANTS deny the allegations of paragraph 80.
 2             81.   DEFENDANTS is without knowledge or information sufficient to
 3     form a belief as to the truth of the allegations of paragraph 81, and therefore deny
 4     them.
 5             82.   DEFENDANTS deny the allegations of paragraph 82.
 6             83.   DEFENDANTS deny the allegations of paragraph 83.
 7             84.   DEFENDANTS deny the allegations of paragraph 84.
 8             85.   DEFENDANTS deny the allegations of paragraph 85.
 9             86.   DEFENDANTS deny the allegations of paragraph 86.
10             87.   DEFENDANTS deny the allegations of paragraph 87.
11             88.   DEFENDANTS deny the allegations of paragraph 88.
12             89.   DEFENDANTS deny the allegations of paragraph 89.
13             90.   DEFENDANTS deny the allegations of paragraph 90.
14                            SEVENTH CLAIM FOR RELIEF
15                                (Unfair Business Practices)
16             91.   DEFENDANTS realleges as if fully set forth here its responses to
17     the allegations in paragraphs 1 through 64 of the complaint.
18             92.   DEFENDANTS deny the allegations of paragraph 92.
19             93.   DEFENDANTS deny the allegations of paragraph 93.
20             94.   DEFENDANTS deny the allegations of paragraph 94.
21             95.   DEFENDANTS deny the allegations of paragraph 95.
22             96.   DEFENDANTS deny the allegations of paragraph 96.
23             97.   DEFENDANTS deny the allegations of paragraph 97.
24             98.   DEFENDANTS deny the allegations of paragraph 98.
25             99.   DEFENDANTS deny the allegations of paragraph 99.
26

27                        DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
28                                              9
     Case 2:20-cv-05606-RGK-JC Document 20 Filed 09/22/20 Page 10 of 14 Page ID #:131




 1           100. DEFENDANTS deny the allegations of paragraph 100.
 2

 3

 4                                  PRAYER FOR RELIEF
 5           The paragraphs after paragraph 100 of the complaint set forth the statement
 6     of relief requested by Plaintiffs to which no response is required. DEFENDANTS
 7     deny that Plaintiff is entitled to any of the requested relief and deny any
 8     allegations contained in the Prayer For Relief to which a response is required.
 9

10                               AFFIRMATIVE DEFENSES
11                           FIRST AFFIRMATIVE DEFENSE
12                            (Failure to State a Claim for Relief)
13           1.     Plaintiffs have failed to state a claim upon which relief may be
14     granted.
15                          SECOND AFFIRMATIVE DEFENSE
16                                    (Non-Infringement)
17           2.     On information and belief, DEFENDANTS does not infringe on
18     Plaintiffs’ ‘152 Patent, ‘525 Patent, ‘281 Patent and ‘772 Patent.
19                           THIRD AFFIRMATIVE DEFENSE
20                                           (Laches)
21           3.     Plaintiffs’ claims are barred by the doctrine of laches.
22                          FOURTH AFFIRMATIVE DEFENSE
23                                          (Estoppel)
24           4.     Plaintiffs’ claims are barred by estoppel.
25                           FIFTH AFFIRMATIVE DEFENSE
26

27                        DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
28                                              10
     Case 2:20-cv-05606-RGK-JC Document 20 Filed 09/22/20 Page 11 of 14 Page ID #:132




 1                                      (Unclean Hands)
 2              5.   Plaintiffs’ claims are barred by the doctrine of unclean hands.
 3                            SIXTH AFFIRMATIVE DEFENSE
 4                                          (Waiver)
 5              6.   Plaintiffs’ claims are barred by waiver.
 6                         SEVENTH AFFIRMATIVE DEFENSE
 7                                   (Invalidity of Patents)
 8              7.   The claims of Plaintiffs’ ‘152 Patent, ‘525 Patent, ‘281 Patent and
 9     ‘772 Patent are invalid for failure to meet the Conditions for Patentability set
10     forth in Title 35 of the United States Code, including, but not limited to, 35 U.S.C.
11     § 1010 et seq., including at least secs. 102, 103 and 112.
12                          EIGHTH AFFIRMATIVE DEFENSE
13                               (Failure to Mitigate Damages)
14              8.   To the extent Plaintiffs suffered any damages, which
15     DEFENDANTS expressly deny, Plaintiffs have failed to take the steps necessary
16     to mitigate the damages sustained.
17                           NINTH AFFIRMATIVE DEFENSE
18                                      (Failure to Mark)
19              9.   Plaintiffs’ claims are barred because they are prohibited from
20     recovering damages for activities alleged to have occurred before it and/or its
21     licensees provided constructive notice of the asserted patent pursuant to 35 U.S.C.
22     § 287.
23                           TENTH AFFIRMATIVE DEFENSE
24                          (Unconstitutionally Excessive Damages)
25

26

27                         DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
28                                              11
     Case 2:20-cv-05606-RGK-JC Document 20 Filed 09/22/20 Page 12 of 14 Page ID #:133




 1            10.    Plaintiffs’ claims are barred because statutory damages sought are
 2     unconstitutionally excessive and disproportionate to any actual damages that may
 3     have been sustained in violation of the Due Process clause.
 4                         ELEVENTH AFFIRMATIVE DEFENSE
 5                                     (No Injunctive Relief)
 6            11.    Plaintiffs have not suffered any irreparable injury, Plaintiffs have an
 7     adequate remedy at law, and injunctive relief would be contrary to the public
 8     interest, and Plaintiffs are not entitled to injunctive relief.
 9                          TWELFTH AFFIRMATIVE DEFENSE
10                                    (Non-Exceptional Case)
11            12.    Defendant has engaged in all relevant activities in good faith,
12     thereby precluding Plaintiff, even if it prevails, from recovering reasonable
13     attorney’s fees and costs under 35 U.S.C. § 285.
14                                 ADDITIONAL DEFENSES
15            13.    DEFENDANTS reserve the right to supplement or amend this
16     answer, including through the addition of further affirmative defenses, based
17     upon the course of discovery and proceedings in this action.
18

19          WHEREFORE, having fully responded to Plaintiffs’ Complaint,
20     DEFENDANTS prays for judgment as follows:
21            1.     That the Complaint be dismissed in its entirety;
22            2.     That Plaintiff takes nothing by reason of the Complaint, and that
23     judgment be entered for DEFENDANTS;
24            3.     That Defendant be awarded the expenses, costs of suit, and attorneys’
25     fees pursuant to 35 U.S.C. § 285, herein, as appropriate; and
26

27                         DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
28                                                 12
     Case 2:20-cv-05606-RGK-JC Document 20 Filed 09/22/20 Page 13 of 14 Page ID #:134




 1           4.     For such other and further relief as this Court deems just and proper.
 2

 3

 4                              DEMAND FOR A JURY TRIAL
 5          Pursuant to Fed. R. Civ. P. 38, Defendant demands a jury trial on all claims
 6     which are triable to a jury in this action.
 7

 8

 9     DATED: September 22, 2020                 Respectfully submitted,
10

11

12

13
                                                Attorney for Defendants
14                                              SCIENTIFIC GLASS ART, INC; JORGE
                                                OMAR AVILA MARTINEZ; and
15
                                                BARAKAT ZAHRAN
16

17

18

19

20

21

22

23

24

25

26

27                         DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
28                                                   13
     Case 2:20-cv-05606-RGK-JC Document 20 Filed 09/22/20 Page 14 of 14 Page ID #:135




                                CERTIFICATE OF SERVICE
 1

 2           I hereby certify that on the date herein, a copy of the foregoing
 3     DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT FOR PATENT
 4     INFRINGEMENT, dated September 22, 2020, was filed electronically.

 5           Notice of the foregoing filing and this Certification of Service will be sent

 6     by e-mail to Defendant’s counsel at agoldberg@sgattys.com and

 7
       patran@sgattys.com by operation of the Court’s electronic filing system. Parties
       may access the foregoing filings and this Certificate of Service through the
 8
       Court’s system.
 9

10

11                                                                       Joshua E. Matic

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27                        DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
28                                             14
